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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




 E. JEAN CARROLL,
                                                   NOTICE OF MOTION TO
                               Plaintiff,          WITHDRAW APPEARANCE
                    v.
                                                   Case No. 1:20-cv-7311
 DONALD J. TRUMP,
 in his individual capacity,

                               Defendant.


                 NOTICE OF MOTION TO WITHDRAW APPEARANCE

       PLEASE TAKE NOTICE that, upon the accompanying declaration of Joshua Matz, dated

January 15, 2021, and pursuant to Local Civil Rule 1.4, Plaintiff respectfully requests the

withdrawal of the appearance of Joshua Matz as counsel on her behalf. Plaintiff further requests,

pursuant to Section 2.5 of the Electronic Case Filing Rules and Instructions, that the email address

jmatz@kaplanhecker.com be removed from the ECF service notification list for this case.

       Plaintiff shall continue to be represented by remaining counsel of record from Kaplan

Hecker & Fink LLP.




Dated: January 15, 2021                              Respectfully submitted,

                                                     /s/ Joshua Matz
                                                     Joshua Matz
